              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                      Case No. 20-CR-54-JPS
v.

RENE PAVON-CRUZ,
                                                                    ORDER
                     Defendant.


       On May 11, 2020, the parties filed a plea agreement, indicating that

Defendant had agreed to plead guilty to a One-Count Information. (Docket

#11). The parties appeared in person and via video conference before

Magistrate Judge Nancy Joseph on July 27, 2020 to conduct a plea colloquy

pursuant to Federal Rule of Criminal Procedure 11. (Docket #14). Defendant

entered a plea of guilty as to the offense charged in the Information. (Id.)

After cautioning and examining Defendant under oath concerning each of

the subjects mentioned in Rule 11, Magistrate Judge Joseph determined that

the guilty plea was knowing and voluntary, and that the offense charged

was supported by an independent factual basis containing each of the

essential elements of the offense. (Docket #14 and #15).

       Thereafter,   Magistrate   Judge    Joseph    filed   a   Report   and

Recommendation with this Court, recommending that: (1) the defendant’s

plea of guilty be accepted; (2) a presentence investigation report be

prepared; and (3) the defendant be adjudicated guilty and have a sentence

imposed accordingly. (Docket #15). Pursuant to General L. R. 72(c) (E.D.

Wis.), 28 U.S.C. § 636(b)(1)(B), and Federal Rules of Criminal Procedure

59(b) or 72(b) if applicable, the parties were advised that written objections



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to that recommendation, or any part thereof, could be filed within fourteen

days of the date of service of the recommendation.

       To date, no party has filed such an objection. The Court has

considered Magistrate Judge Joseph’s recommendation and, having

received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge Nancy Joseph’s report and

recommendation (Docket #15) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this 6th day of November, 2020.

                                   BY THE COURT:



                                   ____________________________________
                                   J. P. Stadtmueller
                                   U.S. District Judge




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